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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON



UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )              Criminal Case No.
v.                                            )                 12-cr-65-JMH
                                              )
NICHOLAS COREY GARNER,                        )       MEMORANDUM OPINION AND ORDER
                                              )
       Defendant.                             )

                                              ***

       This matter is before the Court upon the Motion of Nicholas

Corey Garner for appointment of counsel on appeal [DE 662].                                In

his Motion, he recalls that the district court “directed [him]

to   write    the     Sixth    Circuit        for     an   attorney”     but    “the    Sixth

Circuit says that they don’t appoint lawyers the district court

does.”        Defendant       has    filed        a   Notice      of   Appeal    [DE    629],

depriving      this      Court      of     jurisdiction        with    respect     to   most

matters.

       6    Cir.    R.   12(c)(1)          provides        that   “[t]rial      counsel   in

criminal cases must continue representation of the defendant on

appeal unless relieved by the [appellate] court.”                              As Defendant

will recall, the Court found no reason to dismiss his appointed

trial counsel when the issue was before it and, thus, declined

to appoint him new counsel.                  It was upon Defendant’s motion that

this       Court,     after      consideration,             permitted      Defendant      to

                                                  1
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represent        himself         and    dismissed          his        counsel         from    further

obligation          in    this    matter       prior       to    sentencing.             Defendant,

therefore, elected to file his Notice of Appeal pro se.

      As      the    Court       understands         6    Cir.    R.       12(c)(1),         Defendant

alone      is       responsible         for         his     representation              until       the

disposition         of    any    motion       for       appointment        of    new    counsel     is

heard      by   the       Court    of     Appeals.              See    6    Cir.       R.    12(c)(2)

(anticipating that the Court of Appeals may direct appointment

of counsel for an appellant under the Criminal Justice Act).                                         In

any event and in light of his Notice of Appeal, this Court has

no   authority           to   provide     him       with    the       relief     he     seeks,      and

Defendant should direct his requests for relief to the Court of

Appeals.

         Accordingly,            for    the     reasons         explained         above,       IT    IS

ORDERED:

        (1)     that      Defendant’s         Motion       to    appoint        new    counsel      [DE

662] is DENIED WITHOUT PREJUDICE to his request for relief to

the appropriate Court;

        (2)     that the Clerk shall forward a copy of this Order and

the Defendant’s Motion for appointment of counsel to the Clerk

for the United States Court of Appeals for the Sixth Circuit.

        This the 3rd day of March, 2015.




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